Case 1:21-cr-00208-LDH Document 125 Filed 05/17/24 Page 1 of 2 PageID #: 548

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
FJN:LAB/LM                                           271 Cadman Plaza East
F. #2018R00550                                       Brooklyn, New York 11201


                                                     May 17, 2024
By ECF

The Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Alex Levin
                       Criminal Docket No. 21-208 (LDH)

Dear Judge DeArcy Hall:

               The government respectfully submits this letter to oppose defense counsel’s request
to adjourn the trial in the above-captioned case. See ECF No. 124. As the Court is aware, on
February 2, 2023, the Court scheduled the trial for May 13, 2024. On February 29, 2024, the Court
adjourned the trial to June 3, 2024. 1 On May 10, 2024, the Court adjourned the trial to July 15,
2024. The government anticipates that a trial in this case would be no longer than five business
days and the government anticipates calling fewer than 10 witnesses.

               On or about May 13, 2024, the government conferred with defense counsel
pursuant to the Court’s order directing the parties to indicate whether they consented to the
exclusion of time until July 15, 2024. During that discussion, defense counsel raised that he might
have a brief conflict around July 15, 2024, but agreed to the exclusion of time until July 15, 2024.
Defense counsel did not provide the information he now raises with the Court, that he will be “out
of the country from on or about July 15, 2024, to on or about July 24, 2024.” ECF No. 124 at 1.

               The government opposes a further adjournment of the trial date based on defense
counsel’s now stated unavailability. The Court “has a great deal of latitude in scheduling trials.”
United States v. Griffiths, 750 F.3d 237, 241 (2d Cir.2014) (citation omitted); United States v.
Ferguson, 246 F.R.D. 107, 126-27 (D.Conn.2007) (“A district court has broad discretion to deny
a request to postpone a trial to accommodate defense counsel’s schedules.”). Thus, “trial courts
enjoy very broad discretion in granting or denying trial continuances.” United States v. Stringer,


       1
                The government subsequently filed a letter, with the consent of defense counsel,
requesting a new trial date due to the government attorneys’ unavailability on June 3, 2024. ECF
No. 95. The Court denied this request and the government promptly assigned a new trial team to
this matter, consisting of the two undersigned attorneys.
Case 1:21-cr-00208-LDH Document 125 Filed 05/17/24 Page 2 of 2 PageID #: 549




730 F.3d 120, 127 (2d Cir.2013). A further adjournment of the trial date would prejudice the
government by increasing the risk that witnesses will become unavailable and go against the
interest of the public and of justice. 2 See, e.g., Barker v. Wingo, 407 U.S. 514, 519 (1972) (the
“societal interest in providing a speedy trial ... exists separate from, and at times in opposition to,
the interests of the accused”); Morris v. Slappy, 461 U.S. 1, 11 (1983) (“Not every restriction on
counsel's time or opportunity to investigate or to consult with his client or otherwise prepare for
trial violates a defendant's Sixth Amendment right to counsel.”). Accordingly, the government
respectfully requests that the Court deny the defendant’s motion to adjourn the July 15, 2024, trial.

                                                       Respectfully submitted,

                                                       BREON PEACE
                                                       United States Attorney

                                               By:      /s/ Lorena Michelen
                                                       Lauren A. Bowman
                                                       Lorena Michelen
                                                       Assistant U.S. Attorneys
                                                       (718) 254-7000

cc: Clerk of Court (LDH) (by ECF)
    Defense counsel of record (by ECF)




       2
                For example, one of the government’s civilian witnesses has had to reschedule a
family trip on two occasions, as well as a medical surgery, due to the recent adjournments.


                                                  2
